          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                        CIVIL CASE NO. 1:09cv473
                       [Criminal Case No. 1:07cr32]


DARIAN KENDELL ROBINSON,      )
                              )
                  Petitioner, )
           vs.                )                        ORDER
                              )
UNITED STATED OF AMERICA,     )
                              )
                  Respondent.)


      THIS MATTER is before the Court on the Petitioner’s Motion under 28

U.S.C. §2255 to Vacate, Set Aside, or Correct Sentence by a Person in

Federal Custody [Doc. 1].

                         PROCEDURAL HISTORY

      On April 3, 2007, the Petitioner was charged in a one-count Bill of

Indictment with conspiracy to possess with intent to distribute 50 or more

grams of cocaine base, in violation of 21 U.S.C. §§ 846(a)(1) and 846.

[Criminal Case No. 1:07cr32, Doc. 1]. On July 9, 2007, he entered into a plea

agreement with the Government whereby he agreed to plead guilty to Count

One of the Bill of Indictment. [Id., Doc. 79]. In exchange for the Petitioner’s



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guilty plea, the Government agreed it would not file a section 851 notice of

Robinson’s second qualifying felony conviction. [Id., Doc. 178, at 19.]

Pursuant to his Plea Agreement, the Petitioner also waived his right to contest

his conviction and sentence on appeal or post-conviction motion except for

claims of ineffective assistance of counsel and prosecutorial misconduct. [Id.,

Doc. 79].

      Three months after the entry of his guilty plea, the Petitioner filed a

second motion requesting the removal of his counsel, Mr. Rollman, and

seeking appointment of new counsel. [Id., Doc. 93]. On October 11, 2007, Mr.

Rollman filed a motion to withdraw, asserting a conflict of interest. [Id., Doc.

92]. The Court granted counsel’s motion to withdraw and the Petitioner’s

motion for the appointment of new counsel. [Id., Doc. 96]. The Court

appointed Stanford K. Clontz to represent the Petitioner. [Id., Doc. 100].

      On March 19, 2008, Mr. Clontz filed a motion to withdraw the

Petitioner’s guilty plea. [Id., Doc. 138].   At a hearing on the motion, the

Petitioner then changed his mind and orally moved to withdraw his motion to

withdraw the plea, a motion granted by the Court. [Id., Doc. 149]. Mr. Clontz

also moved to withdraw from the Petitioner’s case because the Petitioner had

retained Richard Beam and Steve Dolly to represent him. [Id., at 142]. The



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Court granted that motion.

      The probation officer prepared a revised presentence report (“PSR”) on

April 15, 2008. [Id., Doc. 152]. The Petitioner and his counsel met on several

occasions to discuss the matters contained in the PSR, including the prior

convictions used to establish his career-offender status. [ Doc. 8-2, at ¶¶ 2-3].

The Petitioner also prepared written objections to all matters in the PSR that

he deemed inappropriate. [Id., at ¶ 5]. According to the Petitioner’s counsel,

the Petitioner claimed that he was never indicted on one of the two prior

felony convictions which formed the basis of his career offender status. [Id.,

at ¶ 6]. The Petitioner’s counsel confirmed the conviction by obtaining a

certified copy of that conviction from the New Jersey Court. [Id.; Doc. 8-1].

The Petitioner did not question the other conviction supporting his career

offender status.

      The Petitioner’s career offender status raised his total offense level by

five levels, for a total offense level of 34, and increased his criminal history

category from V to VI. [Criminal Case No. 1:07cr32, Doc. 152]. On June 18,

2008, the Petitioner filed an objection under 21 U.S.C. § 851(c), denying that

the prior conviction alleged in the § 851 Notice should be used as a basis to

increase his potential punishment. [Id., Doc. 167]. On June 25, 2008, the



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Court sentenced Petitioner to 276 months imprisonment plus ten years of

supervised release. [Id., Doc. 170].

      On July 1, 2008, Petitioner filed a pro se Notice of Appeal in the Fourth

Circuit Court of Appeals.         [Id., Doc. 172].    The Fourth Circuit appointed

appellate counsel Eric S. Bach to represent Petitioner. Mr. Bach filed a brief

in accordance with Anders,1 challenging the adequacy of the Rule 11 hearing

and questioning the Petitioner’s sentence, but concluding that there were no

meritorious grounds for appeal. The Petitioner also filed a supplemental brief

challenging his conviction and sentence. On July 6, 2009, the Fourth Circuit

concluded that there were no meritorious grounds for appeal and affirmed the

Petitioner’s sentence.        United States v. Robinson, 337 Fed. Appx. 360 (4 th

Cir. 2009). The Court stated that it had considered all of the claims raised in

the Petitioner’s supplemental brief and concluded that they were without merit.

Id., at 362 n *.

      On December 28, 2009, the Petitioner timely filed the instant Motion to

Vacate alleging various claims of ineffective assistance of counsel.2 The




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          Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967).
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          The case was reassigned to the undersigned when the sentencing judge retired.

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Government has filed response.3

                             STANDARD OF REVIEW

      Pursuant to Rule 4(b) of the Rules Governing Section 2255

Proceedings, sentencing courts are directed to promptly examine motions to

vacate, along with “any attached exhibits and the record of prior proceedings

. . . ” in order to determine whether a petitioner is entitled to any relief. If the

motion is not dismissed after that initial review, the Court must direct the

government to respond. Id. The Court must then review the Government’s

answer and any materials submitted by the parties and determine whether an

evidentiary hearing is warranted pursuant to Rule 8(a).               Following such

review, if it is clear to the Court that a petitioner is entitled to no relief, a

hearing is not required. Raines v. United States, 423 F.2d 526, 529 (4 th Cir.

1970).

      To establish a claim of ineffective assistance of counsel, a petitioner

must show that counsel’s performance fell below an objective standard of

reasonableness, and that he was prejudiced by such constitutionally deficient

representation. Strickland v. Washington, 466 U.S. 687-91, 104 S.Ct. 2052,



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       The record incorrectly states that the Government moved for summary
judgment. [Doc. 9]. In fact, the Government filed a response to the Petitioner’s motion
seeking denial thereof. [Doc. 8].

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80 L.Ed.2d 674 (1984). In measuring counsel’s performance, there is a strong

presumption that counsel’s conduct was within the wide range of reasonable

professional assistance. Id. at 689.

      To demonstrate prejudice, a petitioner must show a probability that the

alleged errors worked to his “actual and substantial disadvantage, infecting his

trial with error of constitutional dimensions.” Murray v. Carrier, 477 U.S. 478,

494, 106 S.Ct. 2639, 91 L.Ed.2d 397 (1986), quoting United States v. Frady,

456 U.S. 152, 170, 102 S.Ct. 1584, 71 L.Ed.2d 816 (1982). Under these

circumstances, a petitioner “bears the burden of proving Strickland prejudice.”

Fields v. Attorney General of the State of Md.,, 956 F.2d 1290, 1297 (4 th Cir.

1992), certiorari denied 506 U.S. 885, 113 S.Ct. 243, 121 L.Ed.2d 176 (1992)

(citations omitted). Therefore, if a petitioner fails to meet this burden, a

“reviewing court need not consider the performance prong.” Id. at 1297, citing

Strickland, 466 U.S. at 697.

      Moreover, in considering the prejudice prong of the analysis, the Court

must not grant relief solely because a petitioner can show that, but for

counsel’s performance, the outcome of the proceeding would have been

different. Sexton v. French, 163 F.3d 874, 882 (4 th Cir. 1998), certiorari

denied 528 U.S. 855, 120 S.Ct. 139, 145 L.Ed.2d 118 (1999). Rather, the



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Court “can only grant relief under . . . Strickland if the ‘result of the proceeding

was fundamentally unfair or unreliable.’” Id., quoting Lockhart v. Fretwell, 506

U.S. 364, 369, 113 S.Ct. 838, 122 L.Ed.2d 180 (1993).

      A presumption exists that counsel is competent . A petitioner seeking

post-conviction relief bears a heavy burden to overcome this presumption,

and the presumption is not overcome by conclusory allegations. Carpenter

v. United States, 720 F.2d 546, 548 (8 th Cir. 1983). Indeed, a petitioner who

alleges ineffective assistance of counsel following the entry of a guilty plea

has an even higher burden to meet. Hill v. Lockhart, 474 U.S. 52, 59, 106

S.Ct. 366, 88 L.Ed.2d 203 (1985). In the plea context, a petitioner must show

that his counsel’s performance was deficient and “there is a reasonable

probability that, but for counsel’s errors, he would not have pleaded guilty and

would have insisted on going to trial.” Fields, 956 F.2d at 1297. Because

some of the Petitioner’s claims here challenge issues at sentencing, in order

to demonstrate an entitlement to relief, he must, at a minimum, allege facts

which establish that his “sentence would have been more lenient” absent

counsel’s errors.    Royal v. Taylor, 188 F.3d 239, 248-49 (4 th Cir. 1999),

certiorari denied 528 U.S. 1000, 120 S.Ct. 465, 145 L.Ed.2d 379 (1999).




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                                 DISCUSSION

      The Petitioner first alleges that his counsel was ineffective for failing to

determine that he was not a career offender. A defendant is a career offender

under U.S.S.G. § 4B1.1(a)(3) if “the defendant has at least two prior felony

convictions of either a crime of violence or a controlled substance offense.”

According to the PSR, the Petitioner was convicted of felony possession of a

controlled dangerous substance and felony possession of cocaine with intent

to distribute on November 30, 1990 and felony possession of cocaine with

intent to distribute within 1000 feet of a school and felony possession of a

controlled dangerous substance on December 6, 1990. [Criminal Case No.

1:07cr32, Doc. 152, at § 28].

      On direct appeal, the Fourth Circuit specifically concluded that “the

district court properly considered the 1990 convictions in determining that

Robinson was a career offender[.]” United States v. Robinson, 337 Fed.

Appx. at 361. The law of the case doctrine “forecloses relitigation of issues

expressly or impliedly decided by the appellate court.” United States v. Bell,

5 F.3d 64, 66 (4th Cir. 1993). Issues previously decided on direct appeal

cannot be recast in the form of a § 2255 motion. Boeckenhaupt v. United

States, 537 F.2d 1182, 1183 (4th Cir. 1976), certiorari denied 429 U.S. 863,



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97 S.Ct. 169, 50 L.Ed.2d 142 (1976) (“[O]nce a matter has been decided

adversely to a defendant on direct appeal it cannot be relitigated in a collateral

attack under Section 2255.”).      Accordingly, since the Petitioner has not

directed the Court’s attention to any intervening change in the law which

would authorize him to re-litigate this claim in this proceeding, this claim is

procedurally barred.

      The Petitioner’s counsel cannot be found ineffective for failing to

challenge the convictions supporting his career offender status as the Fourth

Circuit concluded that this Court properly considered the convictions in

determining that the Petitioner was a career offender.

      Next, the Petitioner contends that his counsel was ineffective for failing

to consult with him about his appeal. Mr. Beam, the Petitioner’s attorney,

avers that although he was not retained for appellate matters, he spoke with

the Petitioner, at length, about his right to appeal his sentence and ensured

that he exercised those rights. In fact, counsel made sure the Petitioner

mailed his Notice of Appeal to the Court, even before Judgment was entered

in the case. Mr. Beam further states that he contacted the Fourth Circuit

regarding appointment of counsel for the Petitioner and forwarded the

appropriate paperwork to Petitioner. [Doc. 8-2, at ¶¶ 9-11].      The Petitioner



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does not refute his counsel’s affidavit. Therefore, he has not established that

his counsel was deficient.

      The Petitioner also cannot establish any prejudice in connection with his

claim that counsel failed to consult with him regarding an appeal. The record

establishes that the Petitioner filed a timely Notice of Appeal and that the

Fourth Circuit appointed counsel to represent him on appeal.           Appellate

counsel filed an Anders brief on the Petitioner’s behalf and the Court allowed

Petitioner to file a pro se supplemental brief. The Court considered and

rejected Petitioner’s pro se supplemental claims in it written decision. United

States v. Robinson, 337 Fed. Appx. at 361.            The Petitioner has not

established either prong of the Strickland test and his claim therefore fails.

      Next, the Petitioner argues that his counsel was ineffective for failing to

request a downward departure based on overrepresentation of his criminal

history. Pursuant to U.S.S.G. § 4A1.3(b) a downward departure should be

granted when “reliable information indicates that the defendants’s criminal

history category substantially over-represents the seriousness of the

defendant’s criminal history or the likelihood that the defendant will commit

other crimes.”    An over-representativeness departure is almost never

appropriate where the defendant’s criminal history reflects recidivism in



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controlled substance offenses. United States v. Stockton, 349 F.3d 755, 764-

765 (4 th Cir. 2003), certiorari denied 541 U.S. 953, 124 S.Ct. 1695, 158

L.Ed.2d 385 (2004); see also United States v. Atkins, 937F.2d 947, 952 (4 th

Cir. 1991) (noting that Congress considered controlled substance recidivism

to be “especially dangerous.”). Moreover, a downward departure is generally

granted on career offender cases in the “atypical case” where career-offender

status overstates the seriousness of defendant’s prior conduct. Atkins, 937

F.2d at 952.

      The Petitioner’s case is not an atypical case. His criminal history, as

reflected in the PSR, indicated that he has been involved in drug crimes since

at least 1989. [Case No. 1:07cr32, Doc. 152, at ¶ 35]. In late 1989 and early

1990, Petitioner committed several serious drug offenses for which he

received a serious sentence. Petitioner also received two minor convictions

for drug offenses in 1993 and 1998, indicating that his involvement with drugs

did not stop after his 1990 felonies. [Id., Doc. 152, at ¶¶ 37, 39].          The

Petitioner’s criminal record does not support a finding that counsel was

deficient for failing to request a          downward departure based on

overrepresentation of his criminal history. Moreover, the Petitioner has not

shown that, based on the Petitioner’s criminal history, the sentencing Court



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would have granted such a request.4 The Petitioner has not established either

prong of the Strickland test with respect to his claim and therefore, his claim

must fail.

      The Petitioner next argues that his counsel was ineffective for failing to

argue that his prior sentences – the two drug felonies – should have been

counted as a single sentence under Amendment 709.                    Specifically, the

Petitioner argues that the two felony drug sentences he received in 1990

should be counted as a single offense because they were allowed to be

served concurrently. The undersigned recently denied the Petitioner’s “Motion

for Resentencing under Title 18 U.S.C. § 3582(c)(2) and Title 18 U.S.S.G. §

1B1.11(b)(2) Pursuant to Amendment 709" filed in his criminal case in which

he made the same argument. [Criminal Case No. 1:07cr32, Doc. 200]. As

explained in that Order, the Petitioner was sentenced under the 2007 version

of the Sentencing Guidelines, which incorporated the provisions of

Amendment 709 on which Petitioner relies. Under the 2007 version of the

Guidelines, prior sentences are to be counted separately if the sentences



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         The Court notes that such departures are specifically limited to one criminal
history category. U.S.S.G, § 4A1.3(b)(3)(A). The Petitioner’s criminal history category
could have only been reduced from a level VI to V and his offense level would have
remained at level 34. The corresponding guidelines range of imprisonment is 235-296
months. The Petitioner’s 276 month sentence falls squarely within that range.

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were imposed for offenses that were separated by an intervening arrest.

U.S.S.G. § 4A1.2(a)(2) (2007). The offenses for which these two sentences

were imposed were separated by an intervening arrest and were therefore

properly counted as separate sentences for the purpose of calculating the

Petitioner’s criminal history. Since the Petitioner has not established either

prong of the Strickland test with respect to this claim, it must fail.

      The Petitioner next argues that he was coerced into pleading guilty

when his attorney incorrectly advised him that he could receive a life sentence

if he waited to plead or lost at trial. The Petitioner also claims that he was

coerced into pleading guilty when his counsel incorrectly informed him that he

would only be held accountable for cocaine powder.

      First, as a factual matter, Petitioner was potentially subject to a

mandatory      statutory    sentence     of     life   in   prison      under   21   U.S.C.

§841(b)(1)(A)(iii) because his drug offense involved 50grams or more of

cocaine base and he had two prior drug felonies that qualified under § 851.5

Therefore, counsel’s advice regarding the statutory sentencing possibilities

was accurate.

      Next, the Petitioner claims that his counsel incorrectly advised him, by

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        In exchange for Petitioner’s guilty plea, the government agreed it would not file
a section 851 notice of Robinson’s second qualifying felony conviction. [Id., Doc. 178].

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letter, that he would only be held accountable for cocaine powder.             The

Court’s review of the letter and the entire record in this case makes clear that

counsel’s reference to powder in his letter to Petitioner was simply a mistake.

Indeed, the letter referenced by the Petitioner, dated June 12, 2007, states in

part, “I understand that the plea deadline in your case is Friday June 15, 2007.

As we have discussed on Saturday, May 26, 2007, the United States has

offered you a plea to count one of the Bill of Indictment, being conspiracy

related to 150 to 500 grams of cocaine powder.” [Doc. 1, at 26]. The record

reveals that the Petitioner entered a guilty plea, pursuant to a plea agreement,

on July 9, 2007. The Petitioner was clearly advised, on the record, that his

plea was to Count One of the Bill of Indictment which charged conspiracy to

possess with intent to distribute 50 grams or more of cocaine base. Counsel

advised that in exchange for the Petitioner’s guilty plea, the Government

agreed to file one § 851 notice instead of two taking his statutory sentence

from mandatory life to a 20 years to life. [Criminal Case No. 1:07cr32, Doc.

178]. The Court then conducted a thorough plea colloquy and reviewed the

elements of Count One specifically and clearly referencing cocaine base as

the drug to which Petitioner was pleading. [Id.]. The Petitioner acknowledged

that he understood the elements of Count One as explained by the Court.



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[Id.]. The Fourth Circuit has concluded that the Petitioner entered his plea

knowingly and voluntarily and that the plea was supported by an individual

factual basis. United States v. Robinson, 337 Fed. Appx. at 361.

      Therefore, even if this Court were to assume counsel was deficient for

referencing cocaine powder6 in his letter to the Petitioner, the Petitioner

cannot establish prejudice as the Court accurately advised the Petitioner that

his plea was to Count One of the Bill of Indictment which was for conspiracy

to possess with intent to distribute cocaine base. Indeed, the Fourth Circuit

has explained that “if the information given by the court at the Rule 11 hearing

corrects or clarifies the earlier erroneous information given by the defendant’s

attorney and the defendant admits to understanding the court’s advice, the

criminal justice system must be able to rely on the subsequent dialogue

between the court and defendant.” United States v. Lambey, 974 F.2d 1389,

1395 (4 th Cir. 1992), certiorari denied 513 U.S. 1060, 115 S.Ct. 672, 130

L.Ed.2d 605 (1994). The Petitioner was properly advised of the elements of

the offense to which he was pleading guilty by the Court during his Rule 11


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          The Court notes that the Bill of Indictment and the Plea Agreement also
reference cocaine base. It appears that counsel’s reference to cocaine powder in his
letter to Petitioner was a mistake. However, a review of the record satisfies the
undersigned that Petitioner was correctly advised during his Plea and Rule 11 hearing
of the essential elements of Count One of the Bill of Indictment including that drug to
which he was pleading was cocaine base.

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hearing and he stated that he understood those elements. He also stated that

no one coerced him into accepting the plea and that he was entirely satisfied

with the services of his attorney. [Criminal Case No. 1:07cr32, Doc. 178, at

27-28]. The Petitioner has not established either prong of the Strickland test

with respect to this claim. Therefore, his claim that counsel coerced him into

pleading guilty must fail.

      Next, the Petitioner argues that his counsel was ineffective for failing to

advise him of his right to a preliminary hearing. The Petitioner was indicted

by a grand jury, therefore, a preliminary hearing was not required. Fed.R.

Crim.P. 5.1(a)(2); 18 U.S.C. § 3060(e). The Petitioner has not established

either prong of the Strickland test and therefore this claim must fail.

      Finally, the Petitioner contends that his counsel was ineffective for failing

to protect his rights under the Speedy Trial Act of the Sixth Amendment. The

Petitioner argues that counsel improperly allowed the Court to grant sua

sponte a continuance of his trial on April 23, 2007. A review of the record

reveals that the Petitioner was indicted on April 3, 2007.          Counsel was

appointed on April 19, 2007 and the Petitioner was arraigned on April 20,

2007. Three days after arraignment, the Court sua sponte continued the trial

from the May 2007 term. [Criminal Case No. 1:07cr32, Doc. 36].



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      Petitioner raised this claim on direct appeal to the Fourth Circuit Court

of Appeals in his supplemental brief. The Fourth Circuit considered the claim

and concluded that it had no merit.7 The law of the case doctrine “forecloses

relitigation of issues expressly or impliedly decided by the appellate court.”

Bell, 5 F.3d at 66. Issues previously decided on direct appeal cannot be

recast in the form of a § 2255 motion.          Boeckenhaupt, 537 F.2d at 1183

(“[O]nce a matter has been decided adversely to a defendant on direct appeal

it cannot be relitigated in a collateral attack under Section 2255.”).

Accordingly, since the Petitioner has not directed the Court’s attention to any

intervening change in the law which would authorize him to re-litigate this

claim in this proceeding, this claim is procedurally barred.

      The Court has considered the pleadings and documents submitted by

the Petitioner and the entire record of this matter and finds that it is clear that

Petitioner is not entitled to relief on any of his claims. The Court further finds

that the Petitioner has not made a substantial showing of a denial of a

constitutional right. 28 U.S.C. § 2253(c)(2); Miller-El v. Cockrell, 537 U.S.

322, 336-38, 123 S.Ct. 1029, 154 L.Ed.2d 931 (2003) (in order to satisfy §



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       The Fourth Circuit reviewed the claims in Petitioner’s pro se supplemental brief
and concluded that they are without merit. United States v. Robinson, 337 Fed. Appx. at
361.

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2253(c), a petitioner must demonstrate that reasonable jurists would find the

district court’s assessment of the constitutional claims debatable or wrong)

(citations omitted). As a result, the Court declines to issue a certificate of

appealability. Rule 11(a), Rules Governing Section 2255 Proceedings for the

United States District Courts.

                                  ORDER

      IT IS, THEREFORE, ORDERED that the Petitioner’s Motion under 28

U.S.C. §2255 to Vacate, Set Aside, or Correct Sentence by a Person in

Federal Custody [Doc. 1] is hereby DENIED and this action is hereby

DISMISSED.



                                      Signed: December 28, 2010




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